                          IN THE DISTRICT COURT OF GUAM
                                TERRITORY OF GUAM
                                 CRIMINAL MINUTES
                                INITIAL APPEARANCE


CASE NO.: CR-20-00021                        DATE: September 10, 2020

HON. MICHAEL J. BORDALLO, Magistrate Judge, Presiding
Law Clerk: Judith P. Hattori               Court Recorder: Walter Tenorio
Courtroom Deputy: Walter M. Tenorio        Hearing Times: 9:59 - 10:04

APPEARANCES:
Defendant: Ricky James Jr. Salas Santos           Attorney: Briana Kottke
   Present    Custody   Bond     P.R.              Present   Retained    FPD     CJA
U.S. Attorney: Rosetta San Nicolas                                     U.S. Agent:
U.S. Probation: Jeffrey Ventura
Interpreter:                                                           Language:

PROCEEDINGS: Initial Appearance on an Indictment and Arraignment (zoom hearing)
   Defendant consented to appear by video.
   Defendant waives reading of Indictment.
   Defendant sworn and examined.
   Defendant arraigned and advised of his rights, charges and penalties.
   Plea entered: Not guilty to the charges.
   Trial Scheduling Order executed.
   Jury Trial is set for November 17, 2020 at 10:00 a.m.
   Defendant remanded to the custody of the U.S. Marshals Service.
   I, Walter M. Tenorio, certify that I am a duly appointed Deputy Clerk of the District Court
    of Guam, and that I was present in the courtroom of this court on date specified above,
    and during the regular course of my profession, I made electronic sound recording(s) of
    the proceedings, for the case specified above. I have played back the recording and
    certify that it is a true and correct record of the proceedings, that it is sufficiently
    intelligible when played on a personal computer using For The Record The Record
    Player™ or equivalent software, that it can be transcribed without undue difficulty, and
    that I have filed the digital recording with the Clerk of Court.

NOTES:




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